Case 8:19-cv-02304-SDM-SPF      Document 17      Filed 12/11/19   Page 1 of 1 PageID 54


                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                TAMPA DIVISION



    BRYAN CARN,

          Plaintiff,

    v.                                                CASE NO. 8:19-cv-2304-T-23SPF

    HALSTEAD FINANCIAL
    SERVICES, LLC,

          Defendant.
    __________________________________/


                                           ORDER

          The plaintiff announces (Doc. 16) a settlement of this action. Under Local

    Rule 3.08(b), this action is DISMISSED subject to the right of any party within sixty

    days (1) to submit a stipulated form of final order or judgment or (2) to move to

    vacate the dismissal for good cause. The clerk is directed to close the case.

          ORDERED in Tampa, Florida, on December 11, 2019.
